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                                                                                           1/13/2023
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     United States Attorney                                                                 VAV


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     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,              No.   2:23-mj-00165-DUTY

13              Plaintiff,                  GOVERNMENT’S NOTICE OF REQUEST
                                            FOR DETENTION
14                   v.

15 CAROLINE JOANNE HERRLING,
     aka Carrie Phenix,
16   aka Caroline Gardiner,

17              Defendant.

18

19        Plaintiff, United States of America, by and through its counsel
20   of record, hereby requests detention of defendant and gives notice
21   of the following material factors:
22         1.   Temporary 10-day Detention Requested (§ 3142(d)) on the
23              following grounds:
24                a. present offense committed while defendant was on
25                   release pending (felony trial), (sentencing),
26                   (appeal), or on (probation) (parole); or
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 1                b. defendant is an alien not lawfully admitted for

 2                    permanent residence; and

 3                c. defendant may flee; or

 4                d. pose a danger to another or the community.

 5   X       2. Pretrial Detention Requested (§ 3142(e)) because no

 6              condition or combination of conditions will reasonably

 7              assure:

 8       X        a. the appearance of the defendant as required;

 9       X        b. the safety of any other person and the community.

10           3. Detention Requested Pending Supervised Release/Probation

11              Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.

12              § 3143(a)):

13               a.   defendant cannot establish by clear and convincing

14                    evidence that he/she will not pose a danger to any

15                    other person or to the community;

16                b. defendant cannot establish by clear and convincing

17                    evidence that he/she will not flee.

18   X       4. Presumptions Applicable to Pretrial Detention (18 U.S.C.

19              § 3142(e)):

20       X        a. Title 21 or Maritime Drug Law Enforcement Act

21                    (“MDLEA”) (46 U.S.C. App. 1901 et seq.) offense with

22                    10-year or greater maximum penalty (presumption of

23                    danger to community and flight risk);

24                b. offense under 18 U.S.C. §§ 924(c), 956(a), 2332b, or

25                    2332b(g)(5)(B) with 10-year or greater maximum

26                    penalty (presumption of danger to community and

27                    flight risk);

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 1                c. offense involving a minor victim under 18 U.S.C.

 2                   §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,

 3                   2251A, 2252(a)(1)-(a)(3), 2252A(a)(1)-2252A(a)(4),

 4                   2260, 2421, 2422, 2423 or 2425 (presumption of danger

 5                   to community and flight risk);

 6                d. defendant currently charged with an offense described

 7                   in paragraph 5a - 5e below, AND defendant was

 8                   previously convicted of an offense described in

 9                   paragraph 5a - 5e below (whether Federal or

10                   State/local), AND that previous offense was committed

11                   while defendant was on release pending trial, AND the

12                   current offense was committed within five years of

13                   conviction or release from prison on the above-

14                   described previous conviction (presumption of danger

15                   to community).

16   X       5. Government Is Entitled to Detention Hearing Under

17              § 3142(f) If the Case Involves:

18                a. a crime of violence (as defined in 18 U.S.C.

19                   § 3156(a)(4)) or Federal crime of terrorism (as

20                   defined in 18 U.S.C. § 2332b(g)(5)(B)) for which

21                   maximum sentence is 10 years’ imprisonment or more;

22                b. an offense for which maximum sentence is life

23                   imprisonment or death;

24       X        c. Title 21 or MDLEA offense for which maximum sentence

25                   is 10 years’ imprisonment or more;

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 1                 d. any felony if defendant has two or more convictions

 2                    for a crime set forth in a-c above or for an offense

 3                    under state or local law that would qualify under a,

 4                    b, or c if federal jurisdiction were present, or a

 5                    combination or such offenses;

 6                 e. any felony not otherwise a crime of violence that

 7                    involves a minor victim or the possession or use of a

 8                    firearm or destructive device (as defined in 18

 9                    U.S.C. § 921), or any other dangerous weapon, or

10                    involves a failure to register under 18 U.S.C.

11                    § 2250;

12        X        f. serious risk defendant will flee;

13        X        g. serious risk defendant will (obstruct or attempt to

14                    obstruct justice) or (threaten, injure, or intimidate

15                    prospective witness or juror, or attempt to do so).

16            6. Government requests continuance of            days for

17               detention hearing under § 3142(f) and based upon the

18               following reason(s):

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23   //

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 1          7. Good cause for continuance in excess of three days exists

 2             in that:

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 8   Dated: January 13, 2023            Respectfully submitted,

 9                                      E. MARTIN ESTRADA
                                        United States Attorney
10
                                        SCOTT M. GARRINGER
11                                      Assistant United States Attorney
                                        Chief, Criminal Division
12
                                        /s Andrew Brown
13
                                        ANDREW BROWN
14                                      Assistant United States Attorney

15                                      Attorneys for Plaintiff
                                        UNITED STATES OF AMERICA
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